AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                       Apr 13, 2021
                                                                   for the                                                          s/ DarylOlszewski
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.            0-           
Ricky R. Rivera's black Alcatel flip phone ("Device                          )
                                                                             )              0DWWHU1R5
A") and a black Apple iPhone 12 pro ("Device B")                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A.

located in the              Eastern               District of                 Wisconsin                 , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. §922(a)(1)(A); 26               Engaging in a firearms business without a license
        U.S.C. § 5861(b); 26 U.S.C. §             Receipt or possession of firearm transferred in Violation of the NFA
        5861(f) and 18 U.S.C. § 371               Making a Firearm and Conspiracy
          The application is based on these facts:
        See attached affidavit for additional offense descriptions.

           ✔ Continued on the attached sheet.
           u
           ✔ Delayed notice of 30 days (give exact ending date if more than 30 days:
           u                                                                                                                     ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                                     Digitally signed by RICHARD CONNORS
                                                                                 RICHARD CONNORS                     Date: 2021.04.13 08:36:45 -05'00'
                                                                                                       Applicant’s signature

                                                                                                   ATF SA Richard Connors
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable
                                                                     le electronic
                                                                                icc m eans).
                                                                                    means)


Date:       $SULO
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                      Case 2:21-mj-00088-WED Filed 04/13/21 Page 1 ofPrinted
                                                                      58 name   and title
                                                                             Document     1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, RICHARD CONNORS, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the search of property-an electronic

device-which is currently in law enforcement possession, and the extraction from that property of

electronically stored information described in Attachment B.

       2.      I am employed as a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) assigned to the Milwaukee Field

Office since October, 2015. I have been employed as a fulltime law enforcement officer for over

five and a half years. I have received training at the Federal Law Enforcement Training Center in

Glynco, Georgia. I attended the Criminal Investigator Training Program, as well as ATF’s

Special Agent Training Program. I have received training in the investigation of unlawful

possession of firearms, the unlawful transfer of firearms, and the unlawful dealing in firearms

without a dealers’ license. Prior to becoming a Special Agent with the ATF, I received two (2)

bachelor’s degrees from Northern Illinois University in the fields of Sociology and International

Relations. I received a master’s degree from Northern Illinois University in the field of American

Government.

       3.      I have received training in the investigation of firearm and drug trafficking. Based

on my training, experience, and participation in firearm trafficking investigations, I know and/or

have observed the following:

               a.     I have utilized informants to investigate firearm and drug trafficking.

               Through informant interviews and debriefings of individuals involved in those



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    offenses, I have learned about the manner in which individuals and organizations

    distribute these items in Wisconsin and elsewhere;

    b.        I have also relied on informants to obtain firearms (as opposed to licensed

    gun dealers) and controlled substances from individuals on the streets, known as a

    controlled purchase;

    c.        I have experience conducting street surveillance of individuals engaged in

    firearm and drug trafficking. I have participated in the execution of numerous

    search warrants where drugs, firearms, ammunition, and magazines have been

    seized;

    d.        I am familiar with the language utilized over the telephone to discuss

    firearm and drug trafficking, and know that the language is often limited, guarded,

    and coded;

    e.        I know that firearm and drug traffickers often use electronic equipment to

    conduct these operations;

    f.        I know that drug traffickers commonly have in their possession, and at

    their residences and other locations where they exercise dominion and control,

    firearms, ammunition, and records or receipts pertaining to such;

    g.        I know that firearm and drug traffickers often put their telephones in

    nominee names to distance themselves from telephones that are utilized to

    facilitate these and related offenses; and

    h.        I know that firearm and drug traffickers often use proceeds to purchase

    assets such as vehicles, property, jewelry, and narcotics. I also know that firearm

    and drug traffickers often use nominees to purchase and/or title these assets to




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               avoid scrutiny from law enforcement officials. I also know what firearm and drug

               traffickers may keep photographs of these items on electronic devices.

       4.      I have participated in multiple firearm and drug trafficking investigations that

involved the seizure of computers, cellular phones, cameras, and other digital storage devices,

and the subsequent analysis of electronic data stored within these computers, cellular phones,

cameras, and other digital storage devices. In many occasions, this electronic data has provided

evidence of the crimes being investigated and corroborated information already known or

suspected by law enforcement.

       5.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other investigators and witnesses. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

       6.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C § 922(a)(1)(A) (engaging in a

firearms business without a license), 26 U.S.C. § 5861(b) (Receipt or Possession of Firearm

Transferred in Violation of the NFA), 26 U.S.C. § 5861(d) (Possession of Unregistered NFA),

26 U.S.C. § 5861(e) (Transferring Firearm in Violation of NFA), 26 U.S.C. § 5861(f) (Making

Firearm in Violation of NFA), 26 U.S.C. § 5861(i) (Possession of NFA without a Serial

Number), 18 U.S.C. § 924(c) (possessing a firearm during the commission of a drug crime), 21

U.S.C. §§ 841 and 846 (conspiracy to distribute controlled substance(s)). There is also probable

cause to search the property described in Attachment A for evidence of these crimes as further

described in Attachment B.




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                 IDENTIFICATION OF THE DEVICE TO BE EXAMINED

         7.     The property to be search is a black Alcatel flip phone, bearing serial number

4052W-2ATBUS3, listed under ATF case number 772120-20-0074, item number 26, hereinafter

referred to as “Device A.” Additionally, the other item to be searched is a black Apple iPhone 12

pro, listed under ATF case number 772120-20-0074, item number 30, hereinafter referred to as

“Device B”.

         8.     The applied-for warrant would authorize the forensic examination of the Device

A and B for the purpose of identifying electronically stored data particularly described in

Attachment B.

                                     PROBABLE CAUSE

         9.     On June 9, 2020, ATF confidential informants (CI) 28829 and 28830 stated they

were aware of an individual named “Noma” who was selling firearms and silencers. CI 28829

advised “Noma” could obtain multiple silencers and fully automatic weapons. “Noma” was

identified by the CIs via Wisconsin driver’s license photograph as Noman AFZAL (W/M, DOB:

09/06/2001). According to the CIs, AFZAL claimed he had an associate that could obtain these

items.

         10.    For several reasons, case agents believe that the CIs are reliable and credible.

First, the CIs have been provided information that was corroborated by the recovery of physical

evidence. For instance, with the assistance of a video provided by the CIs of AZAL firing the

pistol with the suspected silencer, the CIs were able to direct agents to the location where this

incident occurred. This information was corroborated when an ATF canine search located

expended 9mm shell casings (incident outlined below).     The CIs do not have any outstanding

charges or cases pending. The CIs have expressed their concern for public safety and expressed




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their desire to remove these items and the individual(s) responsible for manufacturing them

(silencers and fully automatic firearms). Third, the CIs are also receiving financial compensation

for their information. The CIs know that if their information is not accurate or fabricated they

will not receive compensation.      CI 28829 has one 2014 misdemeanor disorderly conduct

conviction and one 2019 retail theft conviction. CI 28830 has one 2012 misdemeanor retail theft

conviction.

       11.     During this investigation we have conducted multiple “controlled buys.” Based on

my training and experience, I know a “controlled buy” is a law enforcement operation in which

an informant purchases drugs, firearms or other items from a target. The operation is conducted

using surveillance, usually audio and video recording equipment and pre-recorded purchase

money provided by law enforcement. When a confidential informant is used, s/he is searched for

contraband, weapons, and money before the operation. The informant is wired with a concealed

body recorder and/or a monitoring device. When the transaction is completed, the informant

meets cases agents at a pre-determined location and gives the agents the purchased drugs,

firearms or other purchased items and the recording/monitoring equipment. The informant is

again searched for contraband, weapons, and money and then is interviewed by the case agents

about the transaction. If the informant purchased drugs, a sample of the suspected drugs is field

tested by the case agents for the presence of controlled substances and then placed in inventory.

Ideally, all of the calls to the target by the informants are consensually recorded calls under the

direction and control of case agents and made in the presence or by direction of case agents.

Additionally, case agents typically observe the informants dial the target’s number on each

occasion. On occasion, it is not feasible or safe to record and monitor an informant’s telephone

call made to a target. Typically, these unrecorded calls are unforeseen adjustments or very short




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calls to indicate arrival, departure or other less significant issues. Unless otherwise noted, the

controlled buys and telephone contacts summarized below were conducted pursuant to the above

procedures. The controlled buys conducted with Noman AFZAL are outlined below.

Investigators, when possible, independently corroborated information provided by the CIs.

Whenever possible telephone calls between the CIs and AFZAL were monitored. All meetings

for controlled purchases between the CI and AFZAL were monitored, recorded, and documented

by agents.

       12.       CI 28829 provided ATF with a video from on or about June 3, 2020, that depicted

AFZAL firing a handgun with a suspected silencer affixed to the barrel. AFZAL fired

approximately six (6) shots near 1521 West Bruce Street, Milwaukee, Wisconsin, during

daylight hours. The sound of the firearm discharging on the video was not as loud as a typical

gunshot. Affiant believes the device screwed to the end of the barrel was softening the noise,

and therefore, a suspected silencer. This CI also advised that AFZAL fired the same firearm

with silencer at 2625 South Greeley Street, Milwaukee, Wisconsin.

       13.       On June 10, 2020, ATF agents traveled to both locations, 1521 West Bruce Street

and 2625 South Greeley Street, in order to locate expended shell casings. At the Greeley

location, agents searched for the casings but found the area on a slope covered with grass. At the

Bruce location, the area was covered in grass and underbrush. Agents contacted ATF Explosives

Detection Canine (EDC) Handler Jason Salerno who has a dog (Sandi) that is trained in

explosives detection. This means that Sandi can find expended shell casing fired from a firearm

through scent.

       14.       On June 11, 2020, SA Salerno and Sandi located two (2) PMC 9mm Luger

ammunition casings in the grass at 2625 South Greeley Street. These casings were recovered by




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SA Salerno. At 1521 West Bruce Street, Sandi located one (1) PMC 9mm Luger ammunition

casing on the lip of the sidewalk. This casing was recovered by SA Salerno.

       15.     On June 11, 2020, CI 28829 and 28830 met ATF agents and conducted a

telephone call to AFZAL’s cellular phone at 414-539-8733 (AT&T listed as carrier). The CIs

made final arrangements with AFZAL to purchase the suspected silencer for $1,600.00.      The

CIs and their vehicle were searched prior to the beginning of the operation. No contraband was

located.

       16.     On June 11, 2020, The CIs were instructed by AFZAL to travel to Wilson Park

located at 1601 West Howard Avenue, Milwaukee, Wisconsin, 53221. AFZAL arrived in a

silver, Hyundai Sonata bearing Wisconsin license plate AHJ-6759 and parked near the CIs. The

registration plate listed to a gray, 2017 Subaru Legacy registered to AFZAL. AFZAL entered

the CIs’ vehicle and sat in the middle, rear passenger seat. The CIs and AFZAL engaged in

negotiations. The CIs provided $1,600.00 (ATF funds) to AFZAL and AFZAL provided the

suspected silencer to the CIs, all of which was video/audio recorded. AFZAL exited the CIs’

vehicle, returned to his Hyundai Sonata, and then departed the area. The CIs immediately

transferred the silencer into ATF possession (pictured below).




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       17.     Following the above-described transaction, the CIs informed the agents that

AFZAL had called them regarding a proposed purchase of two (2) additional silencers.

According to AFZAL, these silencers were constructed differently than the silencer purchased on

June 11, 2020 and therefore, AFZAL proposed a reduced sale price. At the direction of ATF, the

CIs initiated negotiations with AFZAL. The CIs and AFZAL agreed to meet on June 16, 2020.

During their conversation, AFZAL referenced an individual who was manufacturing the

silencers that AFZAL was selling to the CIs. AFZAL informed the CIs that this firearm supplier

could make a fully automatic, AR-15 chambered in 300 “Black Out” ammunition. AFZAL told

the CIs that he would be able to sell this firearm to them. AFZAL further advised the CIs that

this firearm supplier lived on the north side of Milwaukee.

       18.     On June 16, 2020, and in the presence of agents, the CIs called AFZAL on his

cellular phone number at 414-539-8733. AFZAL and the CIs finalized the meeting location for

the proposed purchase of two (2) silencers. The CIs were instructed by AFZAL to travel to




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“Gordie Boucher Nissan of Greenfield” located at 4141 South 108th Street, Greenfield,

Wisconsin, 53228.

       19.     On June 16, 2020, the CIs arrived at 4141 South 108th Street, Greenfield,

Wisconsin, 53228 and found AFZAL in the same silver, Hyundai Sonata bearing license plate

AHJ-6759. AFZAL was in the company of Klaudio PROKO (W/M, DOB: 09/06/2000).

PROKO remained at the Nissan dealership while AFZAL entered the back seat of the CIs’

vehicle. The CIs were asked by AFZAL to change locations to the Crawford Animal Hospital

parking lot located at 4607 South 108th Street, Greenfield, Wisconsin, 53228. Affiant knows that

changing locations is common tactic used by criminals who prefer to conduct counter-

surveillance prior to consummating a deal for contraband. Once at the new location, AFZAL

advised the CIs he had three (3) silencers and showed these silencers to the CIs. Three (3)

silencers was more than what was agreed upon during their phone negotiations for two (2)

silencers. However, the CIs agreed to AFZAL’s offer and purchased all three silencers for

$1,800.00 (ATF funds). Also during the transaction, AFZAL told the CIs he could get a fully

automatic AR-15, chambered in 300 “Black Out” ammunition, with a silencer for approximately

$2,500.00. The proposed fully automatic AR-15 transaction would take place at a later date and

time. After completing the transaction for silencers, which was video/audio recorded, AFZAL

returned to his vehicle located in the Nissan dealership parking lot. The CIs departed the parking

lot and immediately provided the three silencers to case agents (pictured below).




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       20.     ATF Special Agent Gregory Stimmel of the Firearms Technology Branch (FTB)

observed photographs of the above silencers and provided verbal confirmation that these indeed

are silencers. As a result of the determination, these items are regulated by the National Firearms

Act (NFA).

       21.     On June 16, 2020 and after the sale of the three (3) silencers, AFZAL contacted

CI 28830 via Snapchat utilizing username “A-Naman.” During their conversation, AFZAL

provided a photograph of the fully automatic AR-15 discussed during the silencer transaction

(pictured below). Affiant knows that Snapchat is a social media messaging application that can

be used via cellular phone.




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       22.     On July 12, 2020, CI 28830 received a photograph of a firearm that appeared

consistent with a Walther, model PPQ, .22 caliber pistol with threaded barrel capable to receive a

silencer. In addition, an object consistent with a silencer was visible. The photo was sent from

AFZAL’s Snapchat account: “A-Naman”.          The following is a screenshot provided by the CI

from AFZAL:




       23.     On July 15, 2020, CI 28830 and AFZAL agreed to meet for AFZAL to provide

the CI a firearm with a silencer in exchange for US Currency. ATF SA Michael Ramos (acting

in an undercover capacity) drove the CI to complete the transaction. CI 28830 and SA Ramos

traveled to the agreed upon transaction location at 1601 West Howard Avenue, Milwaukee,

Wisconsin. While traveling to the transaction location, CI 28830 and AFZAL communicated via




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a Snapchat phone call to confirm they (CI and SA Ramos) were on the way. Once at the above

location, agents observed AFZAL in a white, Honda Accord bearing Wisconsin license plate

AHJ6759 with an unknown male passenger. SA Ramos and CI 28830 parked next to AFZAL.

AFZAL entered SA Ramos’ undercover vehicle to complete the sale. Inside the vehicle, AFZAL

presented a gun box containing the below items in exchange for $1,700 (ATF funds):

          x   a Walther, model PPQ, .22 caliber pistol bearing serial number PP015502, three

              (3) magazines

          x   (13) rounds of .22 caliber ammunition

          x   Suspected silencer




                              (Above mentioned Walther pistol)




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                                  (Above mentioned silencer)

       24.     ATF agents know that each deal between the CIs and AFZAL have been initiated

utilizing cellular phones. Affiant knows this because AFZAL communicates between a series of

text messages and phone calls. Further, AFZAL makes calls from places outside of his residence

(such as the Nissan dealership). Affiant knows that this indicates that AFZAL keeps his cellular

device on his person. In addition, the CIs have observed AFZAL manipulating his cellular

phone during the aforementioned deals. This also means that AFZAL has the ability to utilize

Snapchat to further this scheme when in possession of a cellular device.

       25.     Agents confirmed that the subscriber name and address for the cell phone

associated with AFZAL (414-539-8733), is listed to Noman AFZAL of 4383 South 13th Street,

Milwaukee, Wisconsin with a service provider of AT&T.

       26.     Throughout this case investigation, AFZAL has used Snapchat to communicate

with ATF CIs and facilitate plans to traffic silencers and firearms. The CIs advised that AFZAL

did not send pictures of firearms or silencers via traditional text messaging services. All photos

of firearms and silencers for sale sent by AFZAL were always transmitted via Snapchat. The




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following are screenshots taken by CI 28830 of firearms and silencers (not previously noted

above) that were sent by AFZAL from Snapchat account “A-Naman” to the CI as part of the

scheme to illegally traffic firearms:




           (Photo sent to CI 28830 via AFZAL’s Snapchat account on June 16, 2020)




            (Photo sent to CI 28830 via AFZAL’s Snapchat account on July 5, 2020)




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             (Photo sent to CI 28830 via AFZAL’s Snapchat account on July 16, 2020)

       27.      On August 21, 2020, (ATF) Special Agent Ryan Arnold obtained a federal search

warrant authorized by the United States Magistrate Judge Stephen Dries for the contents of the

Snapchat Account “A-Naman.” This account had been previously associated with Noman

AFZAL (W/M, DOB: 09/06/2001). SA Arnold served the warrant to Snapchat on the same date.

       28.      Case agents executed said Snapchat search warrant and subsequently observed

multiple pictures and text message exchanges with the Snapchat Account “otf_chiraq”. The

accounts “A-Naman” and “otf_chiraq” discussed firearms. Your affiant suspects the account

“otf_chiraq” belongs to Ricky R. RIVERA (W/M, DOB: 09/16/1999).

       29.      Your affiant observed the following messages and photos:

                x      On 06/06/2020, otf_chiraq sent the following photo to A-Naman:




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               x      On 08/10/2020, otf_chiraq sent the following messages to A-Naman:
                            otf_chiraq: 34 Scott bro
                            otf_chiraq: Where you at
                            otf_chiraq: 34 Scott (your affiant is aware RIVERA’s current
                            Wisconsin driver’s license has the listed address of 3400 West
                            Scott Street, Milwaukee, Wisconsin)
                            otf_chiraq: Yea gas (Your affiant is aware the street term “gas” is
                            commonly associated with marijuana)
                            otf_chiraq: Which one u slide up to again?

               x      On 08/20/2020, otf_chiraq sent the following messages to A-Naman:
                            otf_chiraq: How soon can u get it
                            otf_chiraq: I need one for the Rugar.22 (Your affiant is aware this
                            term is likely referring to a .22 caliber Rugar firearm)
         30.   Your affiant is aware firearm traffickers communicate with multiple different

methods, this includes social media applications like Facebook, Snapchat, Instagram, WhatsApp,

and traditional communicative methods like texting and calling. CIs 28829 and 28830 have used

multiple methods when communicating with AFZAL. Additionally, the Snapchat return for the

page “A-Naman” did not reveal any context behind the messages referenced in paragraph 28 of

this affidavit. This suggests AFZAL and RIVERA could be communicating through additional

means.

                       IDENTIFICATION OF FACEBOOK PAGES

         31.   Your affiant located a Facebook page believed to be associated with RIVERA.

The page’s vanity name is “Ricky Rivera (Rico)” and has a corresponding Facebook ID# of

100005757518453, and a URL of https://www.facebook.com/Otf773/. Your affiant compared

the publicly viewable pictures of the individual on the page “Ricky Rivera (Rico)” to a state of

Wisconsin Department of Transportation photograph of RIVERA, the two appear consistent.

Additionally, your affiant reviewed a photograph on the Facebook page depicting RIVERA




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outside of 3400 West Scott Street, Milwaukee, Wisconsin. It should be noted this is the listed

address on RIVERA’s Wisconsin driver’s license.

       32.     Your affiant reviewed photographs on the publicly viewable portion of the

Facebook page “Ricky Rivera (Rico).” Your affiant observed multiple photographs depicting

RIVERA with what appear to be firearms, large amounts of United States Currency, and

suspected marijuana. Additionally, multiple individuals comment on the photos with various

blue hearts and six point star emojis. Your affiant is aware through training and experience, these

are common symbols associated with the Gangster Disciple street gang.

 SEARCH WARRANT EXECUTION ON THE FACEBOOK PAGE “RICKY RIVERA”

       33.     On December 10, 2020, your affiant obtained a federal search warrant authorized

by United States Magistrate Judge Stephen Dries (case no. 20-M-484 (SCD)) for the contents of

the Facebook page “Ricky Rivera (Rico),” with the corresponding Facebook ID number

100005757518453, and a URL of https://www.facebook.com/otf773/. After executing said

search warrant, results were received and downloaded from Facebook on February 4, 2021.

       34.     The following posts and photographs can be viewed on the PDF format provided

by Facebook. The number referenced to the post corresponds to the page number the post

appears on in the Facebook PDF. All times are in Coordinated Universal Time (UTC), the

results cover the dates between January 1, 2019 through December 10, 2020. The posts and

photographs interactions reflect all firearm activity reviewed on the Facebook page for RIVERA.

The posts and photographs reveal RIVERA’s extensive access to firearms. All posts are in

chronological order. It should be noted, there are multiple posts in the Facebook account that are

not listed below. SA Connors located firearm posts encompassing the entire timeframe of the

Facebook warrant.




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       x   Conversation on May 9, 2019 between the profile “Ricky Rivera” and
           “Earl Million” discussing the possession of a firearm. The post is located
           on page 3714.




       x   Conversation on May 26, 2019 between the profile “Ricky Rivera” and
           “Anthony Cruz” discussing the sale of a firearm.




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       x   Post uploaded on June 6, 2019 located on page 3463 depicting RIVERA
           and a suspected pistol.




       x   Conversation on June 24, 2019 between the profile “Ricky Rivera” and
           “Mke Macho” discussing the sale and trade of firearms.




       x   Conversation on August 26, 2019 between the profile “Ricky Rivera” and
           “Antonio Escobar” discussing the sale and trade of firearms. In one of the
           comments, RIVERA states “Both my heat clean, just one not under me
           other one is.” SA Connors knows a street term for a “clean gun” can refer
           to a firearm that is either not stolen or is legally registered. RIVERA
           stating “just one not under me” suggests he is possessing a firearm that is
           either not in his name or could have been used to commit a crime.




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       x   Post uploaded on March 18, 2020 located on page 3245, depicting
           RIVERA with a suspected AR-15 style rifle and a suspected pistol with a
           drum magazine.




       x   Photos and corresponding conversation posted on April 24, 2020 between
           the profile “Ricky Rivera” and “Victor Rivera” discussing the sale of an
           AR-15 style rifle. The posts were located on page 13851-13858.




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       x   Conversation and corresponding photos posted on June 22, 2020 between
           the profile “Ricky Rivera” and “Jordan Williams” discussing the sale and
           trade of firearms. The posts were located on page 3689-3690. RIVERA
           sent a list of firearms with a given price list. RIVERA refers to a “dirty”
           firearm, which could suggest the gun either is stolen or has been utilized in
           the past to commit a crime.




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       x   Photo and corresponding conversation posted on July 22, 2020 between
           the profile “Ricky Rivera” and “Jordan Williams” discussing the sale and
           trade of firearms. The posts were located on page 3699.




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       x   Post uploaded on August 3, 2020 located on page 3174 depicting RIVERA
           with a suspected pistol in his pocket standing in front of his Nissan Sentra.




       x   Conversation on August 3, 2020 between the profile “Ricky Rivera” and
           “Shanin Mahan” discussing the sale of a handgun.




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       x   Conversation and corresponding photo posted on August 8, 2020 between
           the profile “Ricky Rivera” and “Alicia Sierra” discussing the sale of a
           handgun. The post is located on page 4445-4446.




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       x   Conversation on August 28, 2020 between the profile “Ricky Rivera” and
           “Earl Million” discussing the sale of an AR-15 style rifle. The post is
           located on page 3716.




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       x   Photo and corresponding conversation posted on September 2, 2020
           between the profile “Ricky Rivera” and “Jordan Williams” discussing the
           sale and trade of firearms. The posts were located on page 3711-3712.




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       x   Photo posted on October 10, 2020, located on page 3131, depicting
           RIVERA and a suspected AK style pistol.




       x   Photo uploaded on October 30, 2020, located on page 3122, depicting
           RIVERA and a suspected handgun.




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                   x   Photo posted on November 8, 2020 located on page 3116 depicting
                       RIVERA with a suspected AK style pistol.




                   x   Photo posted on January 26, 2021 to the publicly viewable portion of the
                       Facebook page “Ricky Rivera.” RIVERA appears to be holding an AK-
                       style pistol.




       35.     The following Facebook posts and photographs reveal RIVERA’s extensive

access to various illegal narcotics. All posts are in chronological order. It should be noted, there

are multiple posts in the Facebook account that are not listed below due to the sheer volume. SA



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Connors located narcotic posts encompassing the entire timeframe of the Facebook warrant.

                  x   November 16, 2019, RIVERA sent the below photo to multiple
                      individuals. A subsequent conversation occurred with several accounts.
                      Located on page 6916.




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       x   December 28, 2019, RIVERA sent the below photo, which appears to be a
           price list for different quantities of marijuana. The post is located on page
           4665.




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       x   February 28, 2020, conversation between the account “Ricky Rivera” and
           “Mke Cee.” The two accounts discuss suspected marijuana prices and
           different quantities. RIVERA refers to being located in California. The
           conversation is located on page 8157.




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       x   March 22, 2020, conversation between the accounts “Ricky Rivera” and
           “Mke Cee”. The two discuss suspected marijuana prices and different
           quantities. This conversation is located on page 8174.




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       x   April 15, 2020, RIVERA sent the below photo to the Facebook account
           “Mke Cee.” A conversation occurred between the accounts on page 8195.




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       x   May 5, 2020, RIVERA sent the below photo depicting suspected
           marijuana to the Facebook account “Raylee Barnes.” RIVERA references
           his address in the post (3400 West Scott Street, Milwaukee, Wisconsin).
           The conversation begins on page 4773.




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       x   Photo posted on August 9, 2020 from the account “Ricky Rivera.” The
           picture is located on page 9909. It appears RIVERA is distributing
           marijuana at the pound level from the below photograph.




       x   Conversation from August 2, 2020, from the Facebook account “Ricky
           Rivera” and the Facebook account “Mando Hernandez”. RIVERA
           proceeds to reference his address in the post (3400 W. Scott St,
           Milwaukee, WI). The conversation begins on page 5968. RIVERA
           appears to organize a deal for suspected THC cartridges at his residence.




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Case 2:21-mj-00088-WED Filed 04/13/21 Page 43 of 58 Document 1
       x   September 22, 2020, RIVERA sent the below photo to the Facebook
           account “Devon Tarantino.” In the ensuing conversation, RIVERA
           references his address in the post (3400 West Scott Street, Milwaukee,
           Wisconsin). The conversation begins on page 5740. Additionally,
           RIVERA sent a photo depicting the porch to his address where the
           suspected marijuana would be located.




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Case 2:21-mj-00088-WED Filed 04/13/21 Page 45 of 58 Document 1
        x October 6, 2020, post from the account “Ricky Rivera” to the account
          “Kewone BrooksII.” Located on page 6880. The photo depicts bottles of
          promethazine and the ensuing conversation references a firearm for sale.




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                  x   December 2, 2020, conversation between the accounts “Ricky Rivera” and
                      “Alicia Sierra.” The conversation references the sale of suspected
                      marijuana. The conversation begins page 4535.




       36.     It should be noted the user of the account “Ricky Rivera” provides the

address of 3400 West Scott Street, Milwaukee, Wisconsin, on multiple Facebook posts. This is

the listed address on RIVERA’s Wisconsin driver’s license. RIVERA provides the address to

various users on August 28, 2020, September 7, 2020, September 17, 2020, November 23, 2020,

and November 29, 2020.

       37.     Affiant knows from training, experience, and this investigation that electronics are

critical to the function of firearm and drug traffickers. Throughout this investigation,

communications using a wide variety of electronic platforms have facilitated logistics of firearms

and drug trafficking. These communications are interstate and international in nature. The

platforms include email, internet gun brokering sites that allow the user to communicate, social

media, and associated cellular phone applications, and cellular phones. The majority of these

communications can be accessed via cellular phone, computer, tablet, or any electronic device

that can communicate over the internet. Affiant has observed communications, detailed above,



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captured from several of our suspects who use these platforms and show that these platforms and

devices are indeed used for the trafficking of firearms and drugs. Such evidence includes

photographs of trafficked firearms, photographs of illegal drugs, conversations regarding the

trafficking of firearms and drugs and conspirator identifications, and statements regarding

personal drug use.

                               SURVEILLANCE OF RIVERA

       38.     On December 22, 2020, agents observed the 2020 black Nissan Sentra bearing

Wisconsin license plate AGP-1091 parked outside of 3400 West Scott Street, Milwaukee,

Wisconsin. This vehicle is registered to RIVERA at that address.

       39.     On December 29, 2020, at approximately 12:55 p.m., agents observed the 2020

black Nissan Sentra bearing Wisconsin plate AGP-1091 turn on via an apparent remote start. At

approximately 1:04 p.m., your affiant observed RIVERA exit the side door to the residence and

get into the driver side door of the vehicle. At 1:06 p.m., a female identified as Thaliana Larriuz

(W/F, DOB: 10/12/1999) exited the same door and entered the passenger side door of the

vehicle. Your affiant has observed several social media posts depicting RIVERA and LARRIUZ

together in what appears to be a romantic relationship. The vehicle departed the location and

surveillance was terminated.

       40.     On February 23, 2021, at approximately 1:42 p.m., your affiant observed Ricky

RIVERA walk in front of the residence located at 3400 West Scott Street, Milwaukee Wisconsin.

RIVERA got into the driver’s seat of a 2020 Nissan Sentra bearing state of Wisconsin license

plate AGP-1091, which was parked on the street in front of the aforementioned address.

RIVERA then drove the vehicle to the parking lot (Chicken Palace) located at 3433 West

National Avenue, Milwaukee Wisconsin.




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       41.     On February 23, 2021, at approximately 1:47 p.m., SA Gabriel Lowrance

observed the aforementioned vehicle parked in the parking lot of 3433 West National Avenue.

RIVERA was in the driver’s seat of his vehicle, was backed into a parking spot and parked next

to a white SUV bearing Illinois license plate BZ69679. A Hispanic male walked from between

the SUV and RIVERA’s vehicle, around the front of the white SUV, and then entered the SUV

through the driver’s door. RIVERA then left the parking lot and drove south on South 34th Street

toward his residence.

       42.     On February 23, 2021, at approximately 1:55 p.m., SA Lowrance observed

RIVERA’s vehicle parked behind 3430 West National Avenue, this building appeared to be an

apartment complex. An individual wearing a maroon and yellow jacket with a hood over their

head was observed walking from the rear of the building. The individual walked to the rear

passenger side door of RIVERA’s vehicle and entered the vehicle. Agents did not observe this

individual exit the 2020 Nissan Sentra, but believed he eventually exited the vehicle based on

subsequent surveillance of RIVERA. RIVERA then left the parking lot and began traveling south

on South 35th Street.

       43.     On February 23, 2021, at approximately 2:06 p.m., SA Lowrance observed

RIVERA driving the Nissan in the 600 block of West Historic Mitchell Street. RIVERA parked

his vehicle in front of 628 West Historic Mitchell Street. RIVERA exited the driver’s door of the

vehicle. Thaliana Larriuz (W/F, DOB: 10/12/1999) exited the passenger side door of the vehicle.

It should be noted, Larriuz did not match the description of the individual observed entering the

same door behind 3430 West National Avenue. It should be noted the rapid meetings with two

separate individuals could be consistent with street level narcotic sales. SA Lowrance is aware

individuals getting in and out of vehicles in quick fashion can be indicative of a transaction




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occurring inside the vehicle.

                                EXECUTION OF RESIDENTIAL WARRANT

       44.     On March 15, 2021, United States Magistrate Judge Nancy Joseph authorized a

federal search warrant for RIVERA’s residence and vehicle (Case No. 21-833M(NJ)).

       45.     On March 19, 2021, at approximately 11:40AM, members of ATF’s Milwaukee

Field Office executed the above-referenced search warrant at RIVERA’s residence. Located

inside of the residence at the time of execution was RIVERA and his girlfriend identified as

Thaliana Larriuz (DOB: 1999). Recovered from the residence were three (3) handguns, multiple

bills of sale for other firearms, empty gun boxes, financial documents, and approximately 747.3

grams of a green leafy substance which field tested positive for the presence of THC. Agent’s

also uncovered vacuum sealed bags with marijuana residue located in the bag.

       46.     Agents recovered a Black Alcatel Flip Phone (Device A) from the bedroom

where they located the above-described suspected marijuana. Additionally, agents recovered a

Black iPhone 12 Pro (Device B) from the bedroom where they made contact with RIVERA.

       47.     Devices A and B are currently in the secure ATF Milwaukee evidence vault

located at 1000 North Water Street, Suite 1400, Milwaukee, Wisconsin, 53202. Device A is

inventoried under case number 772120-20-0074, item 26. Device B is inventoried under case

number 772120-20-0074, item 30. In my training and experience, I know that Devices A and B

have been stored in a manner in which its contents are, to the extent material to this

investigation, in substantially the same state as they were when the Devices first came into the

possession of the ATF.

                                       TECHNICAL TERMS

       48.     Based on my training and experience, I use the following technical terms to




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convey the following meanings:

          a. Wireless telephone:       A wireless telephone (or mobile telephone, or cellular

             telephone) is a handheld wireless device used for voice and data communication

             through radio signals.      These telephones send signals through networks of

             transmitter/receivers, enabling communication with other wireless telephones or

             traditional “land line” telephones. A wireless telephone usually contains a “call

             log,” which records the telephone number, date, and time of calls made to and

             from the phone.       In addition to enabling voice communications, wireless

             telephones offer a broad range of capabilities. These capabilities include: storing

             names and phone numbers in electronic “address books;” sending, receiving, and

             storing text messages and e-mail; taking, sending, receiving, and storing still

             photographs and moving video; storing and playing back audio files; storing

             dates, appointments, and other information on personal calendars; and accessing

             and downloading information from the Internet. Wireless telephones may also

             include global positioning system (“GPS”) technology for determining the

             location of the device.

          b. Digital camera: A digital camera is a camera that records pictures as digital

             picture files, rather than by using photographic film. Digital cameras use a

             variety of fixed and removable storage media to store their recorded images.

             Images can usually be retrieved by connecting the camera to a computer or by

             connecting the removable storage medium to a separate reader.          Removable

             storage media include various types of flash memory cards or miniature hard

             drives. Most digital cameras also include a screen for viewing the stored images.




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      This storage media can contain any digital data, including data unrelated to

     photographs or videos.

  c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

     handheld digital storage device designed primarily to store and play audio, video,

     or photographic files. However, a portable media player can also store other

     digital data. Some portable media players can use removable storage media.

     Removable storage media include various types of flash memory cards or

     miniature hard drives. This removable storage media can also store any digital

     data. Depending on the model, a portable media player may have the ability to

     store very large amounts of electronic data and may offer additional features such

     as a calendar, contact list, clock, or games.

  d. GPS: A GPS navigation device uses the Global Positioning System to display its

     current location. It often contains records the locations where it has been. Some

     GPS navigation devices can give a user driving or walking directions to another

     location. These devices can contain records of the addresses or locations involved

     in such navigation.      The Global Positioning System (generally abbreviated

     “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

     contains an extremely accurate clock. Each satellite repeatedly transmits by radio

     a mathematical representation of the current time, combined with a special

     sequence of numbers. These signals are sent by radio, using specifications that

     are publicly available. A GPS antenna on Earth can receive those signals. When

     a GPS antenna receives signals from at least four satellites, a computer connected




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     to that antenna can mathematically calculate the antenna’s latitude, longitude, and

     sometimes altitude with a high level of precision.

  e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

     for storing data (such as names, addresses, appointments or notes) and utilizing

     computer programs.      Some PDAs also function as wireless communication

     devices and are used to access the Internet and send and receive e-mail. PDAs

     usually include a memory card or other removable storage media for storing data

     and a keyboard and/or touch screen for entering data. Removable storage media

     include various types of flash memory cards or miniature hard drives. This

     removable storage media can store any digital data. Most PDAs run computer

     software, giving them many of the same capabilities as personal computers. For

     example, PDA users can work with word-processing documents, spreadsheets,

     and presentations. PDAs may also include global positioning system (“GPS”)

     technology for determining the location of the device.

  f. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

     numeric address used by computers on the Internet. An IP address is a series of

     four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

      Every computer attached to the Internet computer must be assigned an IP address

     so that Internet traffic sent from and directed to that computer may be directed

     properly from its source to its destination. Most Internet service providers control

     a range of IP addresses. Some computers have static—that is, long-term—IP

     addresses, while other computers have dynamic—that is, frequently changed—IP

     addresses.




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   g. Internet: The Internet is a global network of computers and other electronic

       devices that communicate with each other. Due to the structure of the Internet,

       connections between devices on the Internet often cross state and international

       borders, even when the devices communicating with each other are in the same

       state.

   f. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

       numeric address used by computers on the Internet. An IP address is a series of

       four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

        Every computer attached to the Internet computer must be assigned an IP address

       so that Internet traffic sent from and directed to that computer may be directed

       properly from its source to its destination. Most Internet service providers control

       a range of IP addresses. Some computers have static—that is, long-term—IP

       addresses, while other computers have dynamic—that is, frequently changed—IP

       addresses.

       49.      Based on my training, experience, and research, and from consulting the

manufacturers’ advertisements and product technical specifications available online, I

know that Devices A and B have capabilities that allow it to serve as a wireless

telephone, digital camera, portable media player, GPS navigation device, and/or PDA. In

my training and experience, examining data stored on devices of this type can uncover,

among other things, evidence that reveals or suggests who possessed or used the device.

          ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       50.      Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have been




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viewed via the Internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools.

       51.      Forensic evidence. As further described in Attachment B, this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence of the crimes described on the warrant, but also forensic evidence that

establishes how the Device was used, the purpose of its use, who used it, and when.

There is probable cause to believe that this forensic electronic evidence might be on the

Device because:

             a. Data on the storage medium can provide evidence of a file that was once

                on the storage medium but has since been deleted or edited, or of a deleted

                portion of a file (such as a paragraph that has been deleted from a word

                processing file).

             b. Forensic evidence on a device can also indicate who has used or controlled

                the device. This “user attribution” evidence is analogous to the search for

                “indicia of occupancy” while executing a search warrant at a residence.

             c. A person with appropriate familiarity with how an electronic device works

                may, after examining this forensic evidence in its proper context, be able

                to draw conclusions about how electronic devices were used, the purpose

                of their use, who used them, and when.

             d. The process of identifying the exact electronically stored information on a

                storage medium that is necessary to draw an accurate conclusion is a

                dynamic process. Electronic evidence is not always data that can be

                merely reviewed by a review team and passed along to investigators.




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                Whether data stored on a computer is evidence may depend on other

                information stored on the computer and the application of knowledge

                about how a computer behaves. Therefore, contextual information

                necessary to understand other evidence also falls within the scope of the

                warrant.

             e. Further, in finding evidence of how a device was used, the purpose of its

                use, who used it, and when, sometimes it is necessary to establish that a

                particular thing is not present on a storage medium.

       52.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device

consistent with the warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium,

that might expose many parts of the device to human inspection in order to determine

whether it is evidence described by the warrant.

       53.      Manner of execution. Because this warrant seeks only permission to

examine a device already in law enforcement’s possession, the execution of this warrant

does not involve the physical intrusion onto a premises. Consequently, I submit there is

reasonable cause for the Court to authorize execution of the warrant at any time in the

day or night.




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                                  ATTACHMENT A

                                Property to Be Searched

1. The property to be search is a black Alcatel flip phone, bearing serial number 4052W-

   2ATBUS3, listed under ATF case number 772120-20-0074, item number 26, hereinafter

   referred to as “Device A”.


2. The item to be searched is a black Apple iPhone 12 pro, listed under ATF case number

   772120-20-0074, item number 30, hereinafter referred to as “Device B”.


3. Both phones are currently located in the ATF Milwaukee evidence vault located at 1000

   North Water Street, Suite 1400, Milwaukee, WI, 53202. This warrant authorizes the

   forensic examination of the Device for the purpose of identifying the electronically stored

   information described in Attachment B




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                                      ATTACHMENT B
                                 Particular Things to be Seized

       1.      All records, information, and items related to violations of 18 U.S.C §
922(a)(1)(A) (engaging in a firearms business without a license), 26 U.S.C. § 5861(b) (Receipt
or Possession of Firearm Transferred in Violation of the NFA), 26 U.S.C. § 5861(d) (Possession
of Unregistered NFA), 26 U.S.C. § 5861(e) (Transferring Firearm in Violation of NFA), 26
U.S.C. § 5861(f) (Making Firearm in Violation of NFA), 26 U.S.C. § 5861(i) (Possession of
NFA without a Serial Number), 18 U.S.C. § 924(c) (possessing a firearm during the commission
of a drug crime), 21 U.S.C. §§ 841 & 846 (conspiracy to distribute controlled substance(s)).
Those violations involving Ricky RIVERA and occurring after January 1, 2019, including:

            a. lists of narcotics dealers and related identifying information;

            b. types, amounts, and prices of drug transactions, as well as dates, places, and
               amounts of specific transactions;

            c. any information related to sources of drugs or firearms (including names,
               addresses, phone numbers, or any other identifying information);
            d. any information related to RIVERA’s purchase, receipt, or possession of firearms
               during the time he has been prohibited by federal law from possessing firearms;

            e. any information recording RIVERA’s schedule or travel to the present;

            f. all bank records, checks, credit card bills, account information, and other financial
               records relevant to the sale and/or trade of narcotics and firearms;

            g. photos, videos, IP addresses, contact information, contact lists;

            h. text messages, social media messages and content, SMS messages, iMessage data,
               relating to the sale and/or trade of narcotics and firearms;
            i. electronic mail to include the content of the emails, and associated email
               addresses, relating to the sale and/or trade of narcotics and firearms;

       2.      Evidence of user attribution showing who used or owned the Device at the time
the things described in this warrant were created, edited, or deleted, such as logs, phonebooks,
saved usernames and passwords, documents, and browsing history.

       As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that
can store data) and any photographic form.




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